                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


EXPRESS MOBILE, INC.,

                     Plaintiff,                 Civil Action No. 2:16-cv-922-JRG-
                                                LEAD CASE
       v.

DIGITAL EVOLUTION GROUP, LLC,

                     Defendant.



WEBS, INC.,                                     Civil Action No. 2:16-cv-558-JRG

                     Defendant.




                       ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration the Joint Motion for Dismissal with Prejudice

of all claims asserted between Plaintiff Express Mobile, Inc. and Defendant Webs, Inc in Civil

Action No. 2:16-cv-558-JRG and the Court being of the opinion that said motion should be

GRANTED, it is hereby:

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit by

Plaintiff Express Mobile, Inc. against Defendant Webs, Inc. are hereby dismissed with prejudice,

and all counterclaims asserted by Defendant Webs, Inc. against Plaintiff are hereby dismissed

without prejudice as moot.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.
SIGNED this 3rd day of January, 2012.
SIGNED this 6th day of January, 2017.




                                        ____________________________________
                                        ROY S. PAYNE
                                        UNITED STATES MAGISTRATE JUDGE
